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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 19-80056-CR-ALTMAN


  UNITED STATES OF AMERICA,

  vs.

  YUJING ZHANG,

              Defendant.
  ____________________________/

                                      NOTICE OF FILING

         The United States hereby gives Notice that on August 21, 2019, the Government’s

  Classified In Camera, Ex Parte Memorandum of Law and Motion for an Order Pursuant to Section

  4 of the Classified Information Procedures Act and Rule 16(d)(1) of the Federal Rules of Criminal

  Procedure was filed under seal with the Court pursuant to Title 18, United States Code Appendix,

  Section 4 and Federal Rules of Criminal Procedure 16(d)(1). The cover sheet for the Classified

  In Camera, Ex Parte Memorandum is attached as Exhibit 1.

                                                      Respectfully submitted,

                                                      ARIANA FAJARDO ORSHAN
                                                      UNITED STATES ATTORNEY

                                              By:     s/ Michael R. Sherwin
                                                      MICHAEL R. SHERWIN
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 21, 2019, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.


                                                  s/ Michael R. Sherwin
                                                  Assistant United States Attorney




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